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EXHIBIT B

46429/0001-7520103v1
Case 08-13141-BLS Doc 8602-3 Filed 04/07/11 Page 2 of 15

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11
TRIBUNE COMPANY, et al.,' _ Case No. 08-13141 (KIC)
Debtors. Jointly Administered

Hearing Date: March 7, Z011 at 1:30 p.m. ET

STIPULATION BETWEEN DEBTORS AND THE AD HOC COMMITTEE OF
SUBSIDIARY TRADE CREDITORS CONCERNING (1) WITHDRAWAL OF
THE AD HOC COMMITTEE OF SUBSIDIARY TRADE CREDITORS’
OBJECTION TO THE DEBTOR/COMMITTEE/LENDER PLAN AND (I)
REQUEST TO HAVE VOTES ON DEBTORS’ PLAN OF REORGANIZATION
CAST BY MEMBERS OF THE AD HOC COMMITTEE OF SUBSIDIARY
ALE WP] PRE MED TO BEA it LANCES OF SUCH PLA

Investments, LLC (6327); forsalebyowner.com corp. (0219); ForSaleByOwner.com Referral Services, LLC 205); Foetify Holdings Corporation
(5628); Forum Pana Group, Ino, 240); ole Coast Publications, inc. 13805); GroenCa, lino. (7416); oe Cove, Aavanttiog ine.

Center, Inc, (7844); Tribune Lloense, Ino, (1035); Tribune Los Angeles, Inc. (4522); Tribune Manhattan Newspaper Holdings, Inc, (7279);
Tribune Media Net, Inc. (7247); Tribune Media Services, inc, (1080); Tribune Network Holdings Company (9936); Tribune New York

CHI 5754815¥,3

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Debtors”) and the Ad Hoe Committee (the “OpCo Trade Committee”) of Tribune Subsidiary
Trade Creditors (the “Trade Creditors”), each by their undersigned counsel, respectfully submit
this Stipulation (the “Stipulation”} concerning (i) the withdrawal of the OpCo Trade
Committee’s objections to confirmation of the Second Amended Joint Plan of Reorganization
for Tribane Company and its Subsidiaries proposed by the Debtors, the Official Committee of —
Unsecured Creditors, Oaktree Capital Management, L. P, Angelo, Gordon & Co., L.P, and
JPMorgan Chase Bank, N.A. (the “Debtor/Committee/Lender Plan”) and (ii) the change of the
votes of members of the OpCo Trade Committee rejecting the Debtor/Committee/Lender Plan to
be deemed to be acceptances of such plan. The parties to this Stipulation respectfully state as
follows: - oo

‘1. On February 15, 2011, the OpCo Trade Committee filed the Ad Hoc Committee of
Tribune Subsidiary Trade Creditors’ Objection to the Debtors’ Plan of Reorganization [D.L

7973] (the “Objection”). In the Objéction, the OpCo Trade Committee alleged, among other
things, that the Debtor/Committee/Lender Pian could not be confirmed because that plan
“violated Sections 1129(a)(3) and 1129(b)(2)(B) of chapter I of title 11 of the United States
Code (the “Bankruptcy Code”).

2. Subsequent to the filing of the Objection, on March 3, 2011, the proponents of the
Debtor/Committee/Lender Plan filed the Proposed Second Amended Joint Plan of
Reorganization for Tribune Company and its Subsidiaries (the “Modified DIC/L Plan") [D.1.
8259]. The Modified D/C/L Plan, among other things, modifies the treatment to be afforded to
the classes of General Unsecured Claims against the Debtors other than Tribune Company to
remove the $150 million aggregate cap on such claims. See Modified D/C/L Plan at § 3.3.5(b),

with such language attached to this Stipulation as Exhibit B.

CHI 575481 Sv.3

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3. The revisions to the Modified D/C/L Plan resolve the OpCo Trade Committee's
Objection and, as a result, the OpCo Trade Committee now supports confirmation of the
Modified D/C/L Plan and wishes to change its previous votes to reject the
Debtor/Committee/Lender Plan.

4, Accordingly, the OpCo Trade Committe affirmatively states as follows respecting
the Modified D/C/L Plan:

a. Asa result of the modifications contained in the Modified DICH Plan, the
Objection is hereby withdrawn with prejudice.

b.. Asa result of the modifications contained i in the Modified D/C/L Plan, the members
of the OpCo Trade Commiitee hereby request that the votes on Exhibit A hereto, which are —
votes previously cast by members of the OpCo Trade Committee to reject the
Debtor/Committee/Lender Plan, each be’ classified as votes to accept the Modified D/C/L Plan,

‘§. The Debtors and the OpCo Trade Committee each intend that notice of this
Stipulation provide notice of the OpCo Trade Committee’s members’ change of their yotes
respecting the Debtor/Committee/Lender Plan, in accordance with Rule 3018(a) of the Federal
Rules of Bankruptcy Procedure,”

? The undersigned counsel is authorized to sign and file this Stipulation concerning the change of the OpCo Trade
Committee members’ vates (among other things) pursuant to Rule 3018(c) of the Federal Rules of Bankruptcy
Procedure.

CHI S75441 59,3

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6. Nothing in this Stipulation precludes the OpCo Trade Committee from applying to

the Bankruptcy Court for payment of its professional fees and expenses pursuant to section

503(b)(3) of the Bankruptcy Code, nor does anything in this Stipulation preclude the Debtors (or

any other party) from objecting to any such application on any grounds,

AND S & KURTH LLP
By:- a

Paul N. Silverstein (NYS Bar No. PS 5098)

Jeremy B. Reckmeyer (NYS Bar No. JR 7536)

450 Lexington Avenue |
New York, NY 10017
Telephone: (212) 850-2800
Facsimile: (212) 850-2929

~and-

THE ROSNER LAW GROUP LLC

Frederick B, Rosner (No, 3995)

Scott J. Leonhardt (No. 4885)

824 North Market Street, Suite 810

Wilmington, DE 19801
Telephone: (302) 319-6301

Counsel to the Ad Hos Committee of Tribune
Subsidiary Trade Creditors

CHi S548 t5v2

- of
James F. Conlan

SIDLEY AUSTIN LLP
“. re et

ae
o_

Kenneth P. Kansa
One South Dearborn Street
Chicago, IL 60603
Telephone: (312) 853-7000
Facsimile: (312) 853-7036

- and-

COLE, SCHOTZ, MEISEL, FORMAN &
LEONARD, P.A.

Norman L. Pernick (No. 2290)

J. Kate Stickles (No. 2917)

300 Delaware Avenue, Suite 1410
Wilmington, DE 19801

Telephone: (302) 652-3131

Counsel to Debtors and
Debtors-in-Possession

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EXHIBIT A -

464250001 -7426023v1
Case 08-13141-BLS Doc 8602-3 Filed 04/07/11 Page 7 of 15

Exhibit A

Name
ASM CAPITAL I, L.P. (TRANSFEROR: CREATORS
SYNDICATE)
ASM CAPITAL II], LP. (TRANSFEROR: CREATORS
SYNDICATE)

ASM CAPITAL, L.P. (TRANSFEROR: ONLINE RESOURCES (FRA) |

ASM CAPITAL III, LP. (TRANSFEROR: SHEA JR, JAMES 7)
ASM CAPITAL, L.P, (TRANSFEROR: BITWISE INC)

ASM CAPITAL, L.P. (TRANSFEROR: LEMBACH, DAYLE)
ASM CAPITAL, L.P. (TRANSFEROR: IMPERIAL RUBBER
PRODUCTS INC)

LONGACRE OPPORTUNITY FUND, L.P. (TRANSFEROR: SHIELD
SECURITY, INC.) - .

ASM CAPITAL, L.P. (TRANSFEROR: BROADCAST SUPPLY
WORLDWIDE)

ASM CAPITAL II, L.P. (TRANSFEROR: DEBMAR-MERCURY
LLC)

ASM CAPITAL, L.P. (TRANSFEROR: SIERRA PACIFIC FLEET
SERVICE)

ASM CAPITAL, L.P. (TRANSFEROR: NEW DIRECTION
SERVICES)

ASM CAPITAL |

ASM CAPITAL II, L.P. (TRANSFEROR: KING FEATURES
SYNDICATE)

_ ASM CAPITAL IIT, L.P. (TRANSFEROR: PRISM RETAIL
SERVICES)

ASM CAPITAL IIT, L.P. (TRANSFEROR: RAVENSWOOD SPECIAL ,

- EVENTS IN)
ASM CAPITAL II, L.P. (TRANSFEROR: ABM JANITORIAL) -
ASM CAPITAL Il, LP. (TRANSFEROR: CHICAGO
COMMUNICATIONS)

’ ASM CAPITAL, LP. (TRANSFEROR: WHEELBASE
COMMUNICATIONS LTD)
ASM CAPITAL, L.P. (TRANSFEROR: MINDZOO LLC)
ASM CAPITAL, L.P. (TRANSFEROR: VER-A-FAST :
CORPORATION)
ASM CAPITAL, L.P. (TRANSFEROR: FROST LIGHTING CO)
ASM CAPITAL, L.P, (TRANSFEROR: GALAXY 1
COMMUNICATIONS LLC)
ASM CAPITAL, LP, (TRANSFEROR: ROSE PAVING COMPANY)

ASM CAPITAL, L.P. (TRANSFEROR: NEWSBAG INC)

’ ASM CAPITAL, L.P. (TRANSFEROR: TARGETCOM LLC) _
ASM CAPITAL, L.P. (TRANSFEROR: BITWISH INC)
ASM CAPITAL, L.P, (TRANSFEROR: DKP & ASSOCIATES INC)

ASM CAPITAL, L.P. (TRANSFEROR: DATAFAST INC)

ASM CAPITAL, L.P. (TRANSFEROR: MERCHANTS CREDIT
GUIDE)

ASM CAPITAL, L.P. (TRANSFEROR: CREATIVE
CIR.ADV.SOLUTIONS)

ASM CAPITAL, L.P. (TRANSFEROR: TBA GLOBAL LLC)

CHI 5754980v.1

Finn Glass Ballet Number Vote Amount

21E

54E

548
“34E

 ‘§4B

348
54B
'S4E
54B

34B.

54B
54E

54E

ATTT

4778

5202

4716
5152
5153
3204

4088 —

5158

4795

3109

3142

5164
4784

4783

4791

4797

‘5125

4742

4746
4749

4757

4766
4767

5130

5132:

5159

3160
5163

5172
5174

5179

$6,035.96
$32.39
$25,322.65
$6,677.42
$15,800.00
$2,700.00
$1,219.52
$21,980.84

$4,103.61

- $7,716.01

$1,996.31
$1,784.07

$16,155.66
$21,763.67

- $27,705.20

$6,500.00

$3,587.87
$3,890.15

$1,701.00

$4,992.69
36,710,33

$6,014.00
$5,355.53

$23,485.00
$7,378.29
$3,000.00
$31,700.00
$12,807.26

$1,599.30
$10,494.28

$4,803.92
$9,550.00
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Exhibit A

Name
ASM CAPITAL, L.P. (TRANSFEROR: FLOORING RESOURCES
CORP)
ASM CAPITAL, L.P. (TRANSFEROR: ACE SANDBLASTING
COMPANY)
LONGACRE OPPORTUNITY FUND, L.P. (TRANSFEROR: JONES
LANG LASALLE)
LONGACRE OPPORTUNITY FUND, L.P. (TRANSFEROR:
MERKLE INC)
LONGACRE OPPORTUNITY FUND, L.P. (TRANSFEROR:
ENTICENT, INC)
ASM CAPITAL, LP, (TRANSFEROR: CREATIVE
CIR.ADV.SOLUTIONS)
LONGACRE OPPORTUNITY FUND, L.P. (TRANSFEROR:
CAMBOTICS INC)
ASM CAPITAL, L.P, (TRANSFEROR: WILEN PRESS)
LONGACRE OPPORTUNITY FUND, L.P, (TRANSFEROR:
RITTER'S PRINTING)
LONGACRE OPPORTUNITY FUND, L.P.
(TRANSFEROR:PRINTING CORP OF THE AMERICAS)
LONGACRE OPPORTUNITY FUND, L.P, (TRANSFEROR:; ON
DEMAND ENVELOPE LLC)
ASM CAPITAL IIL, L.P, (TRANSFEROR: WESTWOOD ONE INC)

ASM CAPITAL Ill, LP, (TRANSFEROR: DEBMAR-MERCURY
LLC) .

ASM CAPITAL, L.P. (TRANSFEROR: STANDARD MECHANICAL
SYSTEMS)

LONGACRE OPPORTUNITY FUND, L.P.

LONGACRE OPPORTUNITY FUND, L.P. (TRANSFEROR:
EVERTZ MICROSYSTEMS, LTD.)

LONGACRE OPPORTUNITY FUND, L.P. (TRAN: SFEROR: E2V
TECHNOLOGIES INC)

ASM CAPITAL AS PURCHASER OF:

ASM CAPITAL III, L.P. (TRANSFEROR: JTD CONSULTING, INC.)

ASM CAPITAL, LP, (TRANSFEROR: HABITAT CONTRACTING)

ASM CAPITAL, L.P. (TRANSFEROR: PACIFIC RADIO
ELECTRONICS)

ASM CAPITAL, L.P. (TRANSFEROR: CALIFORNIA
COMMERCIAL CLEANI}

ASM CAPITAL, L.P, (TRANSFEROR: NORMAN HECHT
RESEARCH INC)

LONGACRE OPPORTUNITY FUND, L.P. (TRANSFEROR:
INSTADTUM INC}.

ASM CAPITAL III, L.P. (T: RANSFEROR: LOS ANGELES
CLIPPERS)

ASM CAPITAL II, LP, (T RANSFEROR: QUASARANO, JOE}
ASM CAPITAL II, LP. (TRANSFEROR: HOLDEN PRODUCTION
GROUP) .

ASM CAPITAL, L.P. (TRANSFEROR: POITRAS, STEVEN SCOTT)

CHI 5754980y.1

S4E

54E

S4E

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55E

56B

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Plan Class Ballot Number

5181

5197

4079

4232,

4272
5182
4205

5155
4076

4109
4251
5111
3120
5183

4115
4263

4082

5198
5124

4752
4755
3103
5129
4275
4775

5112
S117

4763

Vate Amount

$3,579.00
$3,772.50
$230,919.50
$24,125.00
$14,000.00
- $5,837.50
$49,818.50

$71,898.19
$26,347.67

$6,350.00
$17,536.00
$13,267.65
$33,758.07
$1,791.17 |

$24,214.99
$10,483.99

$68,130.00

$12,510.85
548,749.20

$7,435.19
$2,135.09
$2,400.00
$2,626.18
$5,357.00
$258,681.17

$11,414.50
$11,290.32

$2,509.06
Case 08-13141-BLS Doc 8602-3 Filed 04/07/11 Page9of15

Exhibit A

ASM CAPITAL, L.P. (TRANSFEROR: GAME CREEK VIDEO)
LONGACRE CPPORTUNITY FUND, L.P. (TRANSFEROR:
INSTADIUM INC)

LONGACRE OPPORTUNITY FUND, L.P. (TRANSFEROR: E2V
TECHNOLOGIES INC)

LONGACRE OPPORTUNITY FUND, L.P, (TRANSFEROR:
HELINET AVIATION SERVICES LL)

ASM CAPITAL

ASM CAPITAL IH, L.P. (TRANSFEROR: SOTSKY, LAURENCE)
ASM CAPITAL IIE, L.P. (TRANSFEROR: KING FEATURES
SYNDICATE)

ASM CAPITAL MII, L.P. (TRANSFEROR: PENN INDUSTRIES,
INC.)

ASM CAPITAL I], L.P. (TRANSFEROR: BRANDOW & JOHNSTON
ASSOCIATES)

ASM CAPITAL, L.P. (TRANSFEROR: MERCHANTS CREDIT

’ GUIDE)

ASM CAPITAL, L.P, (TRANSFEROR: GLUNZ & JENSEN K & F
INC).

ASM CAPITAL, L.P. (TRANSFEROR: SAS-ROI RETAIL
MERCHANDISING)

ASM CAPITAL, L.P. (TRANSFEROR: CPODM PROFESSIONALS
LP)
ASM CAPITAL, L.P. (TRANSFEROR: CALIFORNIA OFFSET
PRINTERS,)

ASM CAPITAL, L.P. (TRANSFEROR: CULINART INC)

ASM CAPITAL, LP. (TRANSFEROR: 23252 VIA CAMPO VERDE
LLC)

ASM CAPITAL, L.P. (TRANSFEROR: CA WALKER)

ASM CAPITAL, L.P. (TRANSFEROR: CROWN PRINTERS)

ASM CAPITAL, L.P. (TRANSFEROR: IMPERIAL RUBBER
PRODUCTS INC)

ASM CAPITAL, L.P. (TRANSFEROR: ONLINE RESOURCES
CORPORATION)

ASM CAPITAL, LP. (TRANSFEROR: ACCENT ENERGY
CALIFORNIA)

ASM CAPITAL, L.P. (TRANSFEROR: DKP & ASSOCIATES INC)

. LONGACRE OPPORTUNITY FUND, L.P. (TRANSFEROR: LUCAS .

GROUP)
LONGACRE OPPORTUNITY FUND, L.P. (TRANSFEROR:
EVENTWORKS INC)

LONGACRE OPPORTUNITY FUND, L.P. (TRANSFEROR: TOWNE
INC}

LONGACRE OPPORTUNITY FUND, LP. (TRANSFEROR: MISI
COMPANY LTD)

LONGACRE OPPORTUNITY OFFSHORE FUND, LTD.
(TRANSFEROR: TRG CUSTOMER SOLUTIONS)

ASM CAPITAL Ml, LP. (TRANSFEROR: NATIONAL
COMMUNICATIONS)

ASM CAPITAL If, LP. (TRANSFEROR: ORLANDO UTILITIES
COMMISSION) _

CHI S754980v.)

Pen Class Ballot Number

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73E
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T3E
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73B
73EB
73E
73E
73E

T5E

75E

5201
4196

4229
4260
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4781
4783
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3126
A748

4759

476) -

4768
4769

3127
3156

3161
5173
5180
5187
$190
5193
4100

4217

| 4245

4269

4085

4786

5110

Vote Amount

$9,630.00
$15,000.00
$3,138.17
$283,590.98
$14,531.70
$108,461.54
$30,510.70
$789,941.65
$16,737.19
$6,227.15
$5,422.70
$3,139.00
$12,084.12
$126,367.58

$97,843.59
$870,051.04

$57,000.00

$5,854.67

$2,684.50
$22,210.39
$30,253.20

$5,750.00
$30,000.00
$30,617.75
$19,158.34
$15,980.00
$19,121.76
$11,450.50

$208,676.82
Case 08-13141-BLS Doc 8602-3 Filed 04/07/11 Page 10 of 15

. Exhibit A

Name
ASM CAPITAL II, L.P. (TRANSFEROR: CREATORS
SYNDICATE)
ASM CAPITAL IE, L.P. (TRANSFEROR: KING FEATURES
SYNDICATE)
ASM CAPITAL, L.P. (TRANSFEROR: ROBERTS
COMMUNICATIONS)
ASM CAPITAL, LP. (TRANSFEROR: VER-A-FAST
CORPORATION)
ASM CAPITAL, L.P. (TRANSFEROR: MOBILE HEALTH
SOLUTIONS INC)
ASM CAPITAL, LP, (TRANSFEROR: WHEELBASE
COMMUNICATIONS LTD)
ASM CAPITAL, L.P. (TRANSFEROR: BENTLEY MOTORS, INC)
ASM CAPITAL, L,P. (TRANSFEROR: RHINO SHIELD)
ASM CAPITAL, L.P, (TRANSFEROR: MASON-DEXON POLLING
& RESEAR)
LONGACRE OPPORTUNITY FUND, L.P. (TRANSFEROR:
GOALGETTERS INC)
LONGACRE OPPORTUNITY OFFSHORE FUND, LTD.
(TRANSFEROR: ANGCOIL CORPORATION)
ASM CAPITAL TI, L.P. (TRANSFEROR: IPC PRINT SERVICES)
ASM CAPITAL
ASM CAPITAL IIL, L.P. (TRANSFEROR: NATIONAL
COMMUNICATIONS)
ASM CAPITAL II, L.P. (TRANSFEROR: CREATORS
SYNDICATE)
ASM CAPITAL I, L-P. (TRANSFEROR: KING FEATURES
SYNDICATE)
ASM CAPITAL, L.P, (TRANSFEROR: CLEANALL COMMERCIAL
CLEANING)
ASM CAPITAL, LP. (TRANSFEROR; THOMSON PROMOTIONS
INC)
ASM CAPITAL, L.P, (TRANSFEROR: CENTRAL ADDRESS
SYSTEMS INC)
ASM CAPITAL, L.P, (TRANSFEROR: LIME MEDIA GROUP, INC.)

ASM CAPITAL, LP, (TRANSFEROR: BANKRATE INC)

ASM CAPITAL, L.P, (TRANSFEROR: TRANSHIRE)

ASM CAPITAL, L.P. (TRANSFEROR: ANGSTROM GRAPHICS,
INC)

LONGACRE OPPORTUNITY FUND, L.P. (TRANSFEROR:
ANOCOIL CORPORATION)

LONGACRE OPPORTUNITY FUND, LP.
(TRANSFEROR:PRINTING CORP OF THE AMERICAS)
LONGACRE OPPORTUNITY FUND, LP. (TRANSFEROR:
GOALGETTERS INC)

ASM CAPITAL

ASM CAPITAL Il, L.P. (TRANSFEROR: WESTWOOD ONE INC)

ASM CAPITAL Hi, L.P. (TRANSFEROR: CREATORS
SYNDICATE)

CH) $754980v.1

Plan Class Ballot Number

75E

75

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15B
75B
16E
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81E
SIE

81E

5116

5149

4751

4772 |

5165
5167
$178
5185
5192
4248
4091
4794
5169
4785
4790
5123
4770
4771
5104

5139

Vote Amount
$466.23

$9,909.49
$2,461.22
$14,843.30
$2,430.00
$1,397.81
$2,719.64
$2,055.73
$2,740.50
$2,303.75
$11,345.36
$149,305.86
$3,921.00
$89,812.72
$133.47
$9,335.67
$8,413.32
$3,946.83
$13,855.48
$5,000.00
$2,893.55
$1,587.25
578,467.61
51 2,834.48
314,176.97
$15,477.79

$5,015.00
$6,435.00

$314.61
Case 08-13141-BLS Doc 8602-3 Filed 04/07/11 Page 11 of 15

Exhibit A

Name
ASM CAPITAL III, L.P. (TRANSFEROR: PEPCO ENERGY —
SERVICES, INC.)
ASM CAPITAL Il, L.P, (TRANSFEROR; KING FEATURES
SYNDICATE)
ASM CAPITAL, L.P. (TRANSFEROR: DATAFAST INC)
ASM CAPITAL, L.P. (TRANSFEROR: DKP & ASSOCIATES INC}

ASM CAPITAL II, L.P. (TRANSFEROR: KING FHATURES
SYNDICATE}
ASM CAPITAL Il, L.P. (TRANSFEROR: CREATORS
SYNDICATE)

ASM CAPITAL, L.P. {TRANSFEROR: VER-A-FAST
CORPORATION)

ASM CAPITAL, L.P. (TRANSFEROR: ONLINE RESOURCES
CORPORATION)

LONGACRE OPPORTUNITY OFFSHORE FUND, LTD
(TRANSFEROR: PENINSULA UNITED WAY)

ASM CAPITAL AS PURCHASER OF:

ASM CAPITAL AS PURCHASER OF:

ASM CAPITAL III, LP. (TRANSFEROR: KING FEATURES
SYNDICATE)

ASM CAPITAL Ill, L.P. (TRANSFEROR: CREATORS
SYNDICATE)

ASM CAPITAL, L.P. (TRANSFEROR: DATAFAST INC)

ASM CAPITAL, L.P. (TRANSFEROR: PAINTING AND
DECORATING INC)

ASM CAPITAL, L.P. (TRANSFEROR: CONNECTICUT DAILY
NEWSPAPER}

ASM CAPITAL, L.P. (TRANSFEROR: ADFARE.COM INC)

ASM CAPITAL, L.P. (TRANSFEROR: VER-A-FAST
CORPORATION)

ASM CAPITAL, L.P. (TRANSFEROR: COMMUNICATION
RESEARCH)

LONGACRE OPPORTUNITY FUND, L.P. (TRANSFEROR: DACOR
INSTALLATION SERVICES)

LONGACRE OPPORTUNITY FUND, LP. (TRANSFEROR: TELE
REACH INC)

ASM CAPITAL

ASM CAPITAL Tl, L.P. (TRANSFEROR: KING FEATURES
SYNDICATE)

ASM CAPITAL II, L.P. (TRANSFEROR: CREATORS

- SYNDICATE)

LONGACRE OPPORTUNITY FUND, L.P. (TRANSFEROR: TELE
REACH INC)

LONGACRE OPPORTUNITY FUND, L.P, (TRANSFEROR:
ANDREW KLEIN & ASSOCIATES, IN)

ASM CAPITAL III, L.P. CTRANSFEROR: SALEM MEDIA OF
OREGON)

ASM CAPITAL IH, LP. (TRANSFEROR: RUN SPOT RUN MEDIA
INC)

ASM CAPITAL, L.P. (TRANSFEROR: MANZI, JOHN)

CH1 5754986v.1

Plan Class BallotNumber Vote Amount

81E
SIE

81E
81E

82E
§2E
826
82E
82E
83E
§3B
83EB
B3E

83B

83E.

838

832
83E

83E
83E
83E

a4E
84E

84E
B4E
88E
898
898

89E

$122
5148

5138
5168

5101

5118 -

5192
5131
4193
5186
5188
4782
5119

4744
4745

3135

Si41
5143

5195
4223
4226

4147
5113

5146
4214
4278
5147

5151

$107

$670,345.59
$10,298.12

$2,232.15
$560.00

$2,410.20
$263.79
$4,779.52
$100.00
$30,000.00
$28,273.50
$69,979.82
$9,920.12
$482.19

$854.03
$3,740.00

$7,161.11

$9,181.00
54,682.43

$3,098.12
$20,833.11
$40,748.50

$6,854.04
$3,375.90

$395.25
$10,883.00:
$32,038.46
$17,680.00
$9,668.80

$229,738.58
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Exhibit A

Name .

LONGACRE OPPORTUNITY FUND, L.?. (TRANSFEROR:

- ENTERCOM FORTLAND LLC DBA KG)
ASM CAPITAL Ml, L.P. (TRANSFEROR: DATA SERVICE
SOLUTIONS INC) ,
ASM CAPITAL, L.P, (TRANSFEROR: KINGSWAY LOGISTICS
INC) :
ASM CAPITAL, L.P. (TRANSFEROR: UNIQUE PRODUCTS & -
SERVICE)
ASM CAPITAL, L.P. (FRANSFEROR: UNEQ INC)
ASM CAPITAL, L.P. (TRANSFEROR: BEDFORD MOTOR
SERVICES, INC.)
ASM CAPITAL, L.P. (TRANSFEROR: DATA PARTNERS INC)
ASM CAPTTAL, L.P, (TRANSFEROR: PJ GREEN INC) :
ASM CAPITAL, L.P. (TRANSFEROR: ACME SCALE SYSTEMS}

LONGACRE OPPORTUNITY FUND, L.P. (TRANSFEROR: DEMAR .

DIRECT)
* LONGACRE OPPORTUNITY FUND, L. P, (TRANSFEROR:
“NOVIAN & NOVIAN, LLP)
LONGACRE OPPORTUNITY FUND, L.P. (TRANSFEROR:
- WANTED TECHNOLOGIES, INC)
LONGACRE OPPORTUNITY FUND, L.P. (TRANSFEROR:
MERKLE INC)
ASM CAPITAL AS PURCHASER OF:
ASM CAPITAL II, L.P. (TRANSFEROR: CIRCLE R MEDIA LLC)

ASM CAPITAL, L.P. (TRANSFEROR: MASSACHUSETTS
INSTITUTE OF)
ASM CAPITAL, L.P. (TRANSFEROR: NASHVILLE AGENCY):
ASM CAPITAL, L.P. (TRANSFEROR: LEMERY GREISLER LLC)
‘ASM CAPITAL, L.P. (TRANSFEROR: WENDLING PRINTING)
ASM CAPITAL, L.P. (TRANSFEROR: BARON GROUP, THE)
ASM CAPITAL, L.P. (TRANSFEROR: BADGER PRESS INC)
LONGACRE OPPORTUNITY OFFSHORE FUND, LTD
(TRANSFEROR:ADVANCED MEDIA RESEARCH GROUP)
ASM CAPITAE IIL, L.P. (TRANSFEROR: WLPA WRDZ WSIW) |
ASM CAPITAL I, L.P. (TRANSFEROR: DEBMAR-MERCURY
LLC)

_ ASM CAPITAL, L.P. (TRANSFEROR: ARENA MEDIA
NETWORKS LLC)
ASM CAPITAL, L.P. (TRANSFEROR: ADMOBILE DALLAS)
ASM CAPITAL, L.P. (TRANSFEROR: DFW ADSALES INC,)

. ASM CAPITAL, L.P. (TRANSFEROR: RIGGLE, JOHN)
ASM CAPITAL, L.P. (TRANSFEROR: NORMAN HECHT
RESEARCH INC)
LONGACRE OPPORTUNITY FUND, L.P. (TRANSFEROR:
PETRUZZI DETECTIVE AGENCY)
LONGACRE OPPORTUNITY FUND, LP. (TRANSFEROR:
EVERTZ MICROSYSTEMS LTD.)
ASM CAPITAL II], L.P. (PRANSFEROR: DEBMAR-MERCURY

LLC}

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Plan Class Zale Somne

89E
942
948

' O45

1008
100B

100E

100E
. 100E
100E
190E
100E
100E

'103E
103B

103E
103E

163E
103E

' 1038:

103B

103 .

105E

4208
5150

4756

' 4765

"$133
$157

5166
5191
5194
4239
4257
4202
4254

5106

4799

4743

' 4762

5105

5145

5176
5199
4281

4773
4793

4750

“ota Amount
$55,309.50

$42,252.24
$13,118.41
$9,801.43

$50,635.46,
$9,532.64

52,830.92

$1,760.09
$18,109.85:
$65,100.13
$12,772.00
$43,500.00
$23,870.00

$94,459.57
$95,664.00

$9,160.97

$3,750.00 |
$9,390.21
$160,582.60
$4,032.00
$1,345.00
$30,000.60

$8,483.00
$206,182.78

$25,000.00
$52,000.00
$25,000.00
$127,380.77
$2,626.18
$13,886.52
$22,423.75

$5,787.11
Case 08-13141-BLS Doc 8602-3

Exhibit A
LONGACRE OPPORTUNITY FUND, L.P. (TRANSFEROR:
ENTERCOM COMM WEZB)
ASM CAPITAL, L.P. (TRANSFEROR: NORMAN HECHT °
RESEARCH INC) - .
ASM CAPITAL, L.P, (TRANSFEROR: PETERSON, PETER H)
LONGACRE OPPORTUNITY FUND, LP. (TRANSFEROR: E2V
‘TECHNOLOGIES INC)
ASM CAPITAL Tit, LP. (TRANSFEROR: CREATORS SYNDICATE
INC.)
ASM CAPITAL, LP. (TRANSFEROR: CRAPT PRODUCTIONS,
. LUC)
ASM CAPITAL, L.P. (TRANSFEROR: J R LANDRY COMPANY

LTD)
__ ASM CAPITAL, LP, (TRANSFEROR: STUDIO 83 PRODUCTIONS,

_ INC)
ASM CAFITAL Ill, L.P. (TRANSFEROR: WESTWOOD ONE NC)

ASM CAPITAL Ill, LP. (TRANSFEROR: GENCO
ENTERTAINMENT INC)

ASM CAPITAL IIl, L-P. (TRANSFEROR: DEBMAR-MERCURY
LLC)

ASM CAPITAL, L.P. (TRANSFEROR: CTV TELEVISION INC)
-ASM CAPITAL, L.P. (TRANSFEROR: OLYMPIA
ENTERTAINMENT)

ASM CAPITAL, LP. (TRANSFEROR: COLUMBUS BLUE
JACKETS) -
ASM CAPITAL, L.P. (TRANSFEROR: US HELICOPTERS INC)
LONGACRE OPPORTUNITY FUND, L.P. (TRANSFEROR: ALIEN
PRODUCTIONS LLC)

LONGACRE OPPORTUNITY FUND, LP. (TRANSFEROR: MSA)
ASM CAPITAL

ASM CAPITAL II, LP. (TRANSFEROR: BOND PAINTING
COMPANY INC)

ASM CAPITAL III, L.P. (TRANSFEROR: WESTWOGD ONE INC)

ASM CAPITAL, L.P. (TRANSFEROR: KROMA PRINTING
INDUSTRIES CO)
ASM CAPITAL, L.P. (TRANSFEROR: UTOG 2 WAY RADIO ASSN
INC)
ASM CAPITAL, L.P. (TRANSFEROR: NEP SUPERSHOOTERS,
LP.)

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Plan Class

105B
1065

106E
106E

1078
1088
1082
1088
1095

“1098
1098

109E
1098

109B

109E
L098

1098
1108
110E -
‘ 110B
110B
i10B

110E

Ballot Number
4211

3140

5170 -
4220

5115
$128 -
5144
5171
4780
4789
4796

4758
4760

5154

5162
4103

4112
. 5196
4792
4800
4754
3137

5200

nt

$33,900.80
$3,219.19 -

$3,362.90.
$970.00

$51.84
$2,125.00
52,776.90
$3,565.00

$13,125.40

_ $181,619.62

$29,677.41

$191,558.47
524,832.83

- $1,828.00

$22,971.48
$37,096.78

$25,029.74
$2,513.82
$13,611.90
$73,364.52
$12,452.44
$20,848,69

$10,253.83 ©
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. (4) —- Voting: Claims in Class 50D through 111D are Impaired,
and Holders of Claims in Classes SOD through 111D are conclusively deemed to have
rejected the Plan and are not entitled to voto to accept or reject the Plan.

3.3.5

oo (a) Classification: Classes 28 through 111E consist of all

General Unsecured Claims against the relevant Filed Subsidiary Debtors. The numerical
portion of the Class designation corresponds to the applicable Debtor number on
Appendix A hereto.

(b) Treatment: On or as soon az reasonably practicable after
the applicable Distribution Date, each Halder of an Allowed General Unsecured Claim
against a Filed Subsidiary Debtor shell receive an amount of Cash (paid out of the
Distributable Cash Pool) equal to-the-Jeaser-e£6} 100% of such Holders’ Allowed
General Unsecured Claim Against a Filed Subsidiary Debtor-or-G)-a-Pro-Rata-chare-of

8 er

acorus or be paid on any General Unsecured Clai i i idi .

(c) Voting: Claims in Classes 2E through 111H are Impaired,
and Holders of Claims in Classes 28 through 1118 are entitled to vote to accept or reject
the Plan against the relevant Debtors.

3.3.6 Classes 2K through 111%. — Intercompany Claims.

(a): Classification: Classes 2K through 111K consist of all
Intercompany Claims against the relevant Filed Subsidiary Debtora. The numerical
portion of the Class designation corresponds to the applicable Debtor number on
Appendix A bersto,

, (6) = Treatment: In full satisfaction, settlement, release and
discharge of and in exchange for Interoompany Claims against Filed Subsidiary Debtors,
except as otherwise provided herein, Holders of Intercompany Claims shall receive the
treatment afforded to them in the intercompany Claims Settlement.

(c) Voting: Cisims in Classea 2K through 111K are Impaired:
however, as set forth in Section 4.3, votes on the Plan shall not be solicited from Holdecs
of Claims in Classes 2K. through 111K,

(a) Classification: Classes 21. through 111L consist of all
Sccurities Litigatian Claims against the relevant Filed Subsidiary Debtors. The
numerical portion of the Class designation corresponds to the applicable Debtor number
on Appandix A hereto.

